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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JOHN DOE, an individual,

      Plaintiff,

vs.                                                    Case No.: 18-cv-11776
                                                       Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN (as to Title IX                 Mag. Elizabeth A. Stafford
violations), BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, a constitutional
corporate body (as to Title IX & ELCRA
violations), PAMELA HEATLIE, ROBERT                    PLAINTIFF’S REPLY IN
SELLERS, MARTIN PHILBERT, ERIK                           SUPPORT OF HIS
WESSEL, LAURA BLAKE JONES, E.                          MOTION FOR PARTIAL
ROYSTER HARPER, SUZANNE MCFADDEN,                      SUMMARY JUDGMENT
and PAUL ROBINSON, employees of the
University of Michigan, sued in his or her personal
and official capacities, jointly and severally,

      Defendants.

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 I.    Plaintiff is Entitled to Summary Judgment and an Order.

       Plaintiff’s Motion for Partial Summary Judgment is straightforward. All the

 required elements are firmly in place. There are no questions of law that are not

 already decided. Pursuant to Doe v. Cincinnati, 872 F.3d 393 (6th Cir. 2017), and

 Doe v. Baum, 903 F.3d 575 (6th Cir. 2018), the 2018 Policy imposed upon Plaintiff

 was unconstitutional. Plaintiff is entitled to an order so stating. Pursuant to Doe v.

 Baum, Plaintiff must receive constitutional due process as he continues through the

 administrative adjudication by the University now underway. He is entitled to an

 order so stating, setting forth the elements of what due process will be required.

 There are no facts that need to be determined, and Defendants point to none that

 would affect this Motion 1.

       Inexplicably, Defendants continue to argue that the Court should abandon

 this case entirely even though the Sixth Circuit remanded it “for reconsideration in

 light of Baum and the University’s interim policy.” ECF 42, Pg. ID 1264. To be

 clear, the Sixth Circuit found “the University’s motion to dismiss and Doe’s

 motion for leave to file a sur-reply are DENIED AS MOOT” Id. (emphasis in

 original); it did not find that Plaintiff’s case was moot, or not “ripe,” despite

 Defendants raising both of these issues on appeal. Motion to Quash/Dismiss


 1
   Defendants have access to 100% of the witnesses and documents relevant to this
 case; they were free to point to any “material” that creates a question of fact per
 FRCP 56, but did not.
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 Appeal, Case 18-1903, RE 23. Nor did the Appellate Court find that further

 proceedings and findings would be “premature” or that Plaintiff “lack[ed]

 standing;” it did not remand for rulings on those issues. Nor did it remand with an

 instruction that the case be “dismissed,” which is the “established practice” when a

 federal appellate court finds that the entire case is moot. Coal. for Gov.

 Procurement v. Fed. Prison Indus. Inc., 365 F.3d 435, 484-85 (6th Cir. 2004). To

 the contrary, we are back in court for a resolution of the remaining issues. In spite

 of that reality, Defendants repeatedly argue that the Court should drop this case

 and leave the matter of required constitutional due process in their hands.

       Defendants claim no further action is necessary because they have made a

 “commitment” and have filed a “declaration” not to use the 2018 Policy in

 Plaintiff’s case. ECF 60, Pg. ID 1892. Their exhortations on this point are

 meaningless. The obvious needs to be stated: current intentions, commitments and

 declarations do not have the force of law. A court order does carry the force of

 law. The law, not Defendants’ benevolence, entitles Plaintiff to due process

 protections. Equitable relief, such as the order sought by Plaintiff, “is directly

 intended to invalidate the illegal government action…” Shaw v. Gwatney, 604 F.

 Supp. 880, 887 (E.D. Ark. 1985), aff'd in part, vacated in part, 795 F.2d 1351 (8th

 Cir. 1986). Once the Court concludes, as it has previously, that Doe did not and

 would not receive adequate due process under the 2018 Policy, “that finding



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 necessitates certain declaratory and injunctive relief…” Doe v. Alger, No. 15-cv-

 00035, 2017 WL 1483577, at *1 (W.D. Va. Apr. 25, 2017).

       Moreover, Defendants have a horrible track record when left to their own

 devices to determine due process protections afforded under their sexual

 misconduct policies. Since August 2013, they have issued four different policies:

 2013, 2016, 2018, 2019, and are now working on a fifth. The University’s 2016

 policy was struck down by the Baum Court; the 2018 Policy intentionally violated

 Doe v. University of Cincinnati, 872 F.3d 393 (6th Cir. 2017), and this Court found

 that it was unconstitutional; and the 2019 Interim Policy provides no guarantee for

 cross-examination or a hearing where credibility is at stake.

       Moreover, in June 2018, when Plaintiff sought a preliminary injunction,

 Defendants had their opportunity to voluntarily “agree,” outside of a court order

 that they would not apply the 2018 Policy to him. ECF 4, Pg. ID 133-162. Instead,

 in spite of the holding in Doe v. Cincinnati, they mounted a legal battle arguing

 that Plaintiff was “not likely to succeed on the merits.” ECF 21, Pg. ID 322-330.

 When this Court ordered that Defendants provide a hearing with cross-examination

 via a third party (ECF 30, Pg. ID 744), they dug in and appealed, losing further and

 more significantly after Baum was decided. Here, Defendants continue to battle

 against the inevitable.




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        Additionally, Defendants concede their agreement with most of the relief

 Plaintiff seeks:

       [Plaintiff seeks] an order: (1) enjoining defendants … from using a
       policy the parties agree (and Doe admits) the University no longer
       uses; (2) requiring the University to provide Doe a live hearing with
       cross-examination, which the University has already committed to
       do in accordance with its current 2019 Policy; and (3) enjoining the
       University from hypothetically prospectively instituting various
       interim measures or using certain procedures on a future appeal in
       Doe’s case in the absence of any facts of record suggesting the
       University intends to do so. ECF 60 Pg. ID 1883 (emphasis added).

 The obvious question is, as the University agrees to all of the above, why will it

 not stipulate to an order so stating, as Plaintiff has continually requested, and save

 the taxpayers further legal bills? 2 Three answers come to mind. First, optics.

 Defendants have an obsession with keeping Plaintiff and the courts out of their

 decision-making. The idea of an order creating a public record of their

 unconstitutional actions is an anathema for Defendants. Second, Defendants want

 to preserve their ability to make whatever policy changes they want to make, when

 they want to make them. A court order would interfere with this goal. Third,

 Defendants incorrectly believe that Plaintiff will not be able to obtain attorney fees

 in this case without having obtained an order3.


 2
   Per a recently reported FOIA request, Defendants’ attorney fees as of June 30,
 2019 are an astounding $640,380.46.
 3
   Plaintiff obtained a preliminary injunction stopping Defendants’ unconstitutional
 process, making a judicially-ordered “material change” in the legal relationship
 between the parties. Nothing more is required. McQueary v. Conway, 614 F.3d

                                           4
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       Defendants refused to engage with Plaintiff to work out what process

 Plaintiff is due post-Baum. They made it clear that they will not voluntarily

 countenance Plaintiff providing any policy input, even though they are in the

 process replacing the current Interim Policy, as set forth below (something they

 have not bothered to reveal to this Court). For example, Defendants never

 responded to specific written questions posed by Plaintiff that go to the heart of

 what due process he will be afforded. Ex. A, Pl. Resp. to Proposed Amend. to

 Policy, May 16, 2019. On July 12, 2019, University spokesman Rick Fitzgerald

 confirmed the University’s intransigence as to the courts:

       “Fitzgerald said the university’s right to control its own policies is worth
       fighting for. ‘We must retain the authority over our policies to do that in the
       best way we know how and we’re willing to fight in court to maintain that
       authority.’…” Ex. B, Gus Burns, UM sexual misconduct policy lawsuit has
       cost $648,380 in legal fees so far, MLive (July 12, 2019),
       https://www.mlive.com/news/2019/07/um-sexual-misconduct-policy-
       lawsuit-has-cost-648380-in-legal-fees-so-far.html.

       The Court has made every effort to have the parties reach an agreement as to

 the due process to be provided Plaintiff, but it is clear this is not going to occur. In

 addition to Defendants’ intransigence, as set forth below, Defendants will soon

 replace the 2019 Interim Policy with yet another sexual misconduct policy. As

 such, the directive from the Sixth Circuit that this case be considered “in light


 591, 598 (6th Cir. 2010). The vacation of the preliminary injunction by the Sixth
 Circuit was not because this “material change” no longer existed; it was because
 Plaintiff was actually entitled to more relief than this Court originally provided.

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 of…the University’s interim policy” will be to no avail. This Court is left to decide

 what process will be applied to Plaintiff. In that regard, Plaintiff has attached a

 proposed order. Ex. C, Proposed Order.

 II.   The 2019 Interim Policy Ballyhooed by Defendants Will Soon Be
       Replaced.

       Defendants’ Response places all their eggs in the basket labeled “2019

 Interim Policy.” Their constant remonstrations that they should be left alone to

 proceed against Plaintiff under that temporary policy are unavailing and

 disingenuous.

       First, this Court has yet to pass constitutional muster on the Interim Policy,

 as it was instructed to do by the Sixth Circuit. Second, in all of their briefing

 Defendants have never addressed the specific content of the Interim Policy or

 answered the questions Plaintiff has raised. They have only made conclusory

 statements as to the Interim Policy’s constitutionality. One would think that by

 now, given the Sixth Circuit’s directive, the University would have presented a

 legal analysis of the Interim Policy on a silver platter for the Court’s consideration.

 But that has not happened, undoubtedly because a close review of the Interim

 Policy reveals its constitutional deficiencies, and because Defendants believe its

 contents are none of the Court’s business. Defendants concede that the Interim

 Policy offers no guarantee of cross-examination and has no “rigid” due process




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 requirements, even where credibility is at stake. ECF 60, Pg. ID 1906. Defendants

 have no interest in meaningfully engaging with the Court as to the Interim Policy.

       Third, Elizabeth Seney’s affidavit leaves out a crucial fact. ECF 60-1, Pg. ID

 1966-8. On June 28, 2019, one day after she signed her affidavit, Ms. Seney

 testified 4 that the 2019 Interim Policy will soon be discontinued in favor of a new

 policy. She testified that, “there’s a committee with a formal charge to create an

 umbrella policy, that – where the policy pertains to students, faculty and

 staff…instead of having the interim policy.” 5 Ex. D, Elizabeth Seney Dep. of June

 28, 2019 at 42:25; 43:1-2, 10. The committee began to meet in February 2019, a

 month after the Interim Policy went into effect, with the goal of creating a

 completed “document to vet” in the fall of 2019. Id. at 45:18-19; 46:4, 7-17. Ms.

 Seney does not know what will be included in the new policy:

       Ms. Seney: I mean, I don't want to speculate as to what it will be
       because that's not where we are in the process.
       Ms. Gordon: So, the entire policy, you don't know what the – once the
       interim policy has been revised, you don't know what the new policy
       will look like?
       Ms. Seney: Yeah. I think it's fair to say it's not -- that process is not
       done yet and so I don't want to speculate as to what it will be when it
       is done, because there's still a long way to go.
 4
   Ms. Seney was deposed in case No. 18-cv-13321.
 5
  Per Seney, the committee includes: 1) Patty Petrowski, Assoc. VP and Deputy
 Gen. Counsel; 2) Erik Wessel, Director of OSCR; 3) Pamela Heatlie, Assoc. Vice
 Provost for Academic and Faculty Affairs; 4) Kaaren Williamsen, Director of
 SAPAC; 5) Jim Burkel, Assistant Provost; and 6) herself, in her capacity as Interim
 Title IX Coordinator. Id. at 45:1-3, 6, 10, 13.

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 Id. at 50:10-18. Defendants’ argument that this Court should allow them to

 implement the 2019 Interim Policy is wholly disingenuous.

 III.   Defendants’ Ripeness and Mootness Arguments are Frivolous.

        Defendants have unsuccessfully made these arguments three times,

 including before the Sixth Circuit.6 Repeating them here does not change the law.

 Plaintiff relies on the arguments and case law set forth in his Response to

 Defendants’ Motion to Dismiss his Second Amended Complaint (ECF 59, Pg. ID

 1828-57) which encompasses his counterarguments made to the Sixth Circuit.

 Case: 18-1903, Doc. 22, Pg. 35-56.

 IV.    Conclusion

        WHEREFORE, for the reasons stated herein and in Plaintiff’s original

 Motion and Brief, Plaintiff respectfully requests that partial summary judgment

 should be granted as to his due process claim.

                                       Respectfully submitted,

 Dated: July 15, 2019                  DEBORAH GORDON LAW
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                                       Elizabeth Marzotto Taylor (P82061)
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 6
   These arguments have been unsuccessfully made in: 1) Defs.’ Resp. to Pl.’s Mtn
 for TRO & PI, ECF 21, Pg. ID 323-325; 2) Defs.’/Cross-Appellees’ Mtn to
 Quash/Dismiss Appeal, Case 18-1903, RE 23; 3) Defs.’ Mtn to Dismiss SAC, ECF
 49, Pg. ID 1593-1601; and 4) the instant response.

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                          CERTIFICATE OF SERVICE

        I hereby certify that on July 15, 2019, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing and service of said documents to all parties through their
 counsel of record.
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